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                          UNITED STATES DISTRICT COURT
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                        EASTERN DISTRICT OF CALIFORNIA
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     MARCO ANTHONY GOMEZ, JR.,           CR. NO. 2:07-0248-10 WBS
10
                  Petitioner,            ORDER
11
         v.
12
     UNITED STATES OF AMERICA,
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                  Respondent.
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18             On November 7, 2016, defendant Marco Anthony Gomez, Jr.

19   filed a motion to reduce sentence pursuant to 18 U.S.C. § 3582.

20   (Docket No. 1452.)    The United States shall file an opposition to

21   petitioner’s motion no later than December 12, 2016.         Petitioner

22   may then file a reply no later than January 3, 2017.         The court

23   will then take the motion under submission and will inform the

24   parties if oral argument or further proceedings are necessary.

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26             IT IS SO ORDERED.

27   Dated:   November 7, 2016

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